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           Exhibit 3
           6/28/1018 – Plaintiff’s reply to the City’s response.

           Rudd v. Norton Shores Michigan FOIA Litigation
           17-004334-CZ 14th Circuit Court, Hon. Timothy G. Hicks
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                           IN THE STATE OF MICHIGAN
                   iTHCIRCUIT COURT FOR THE COUNTY OF MUSKEGON
           IN THE 14'"

DANIEL W. RUDD,

        Plaintiff,                        File No. 2017-004334-CZ
                                          Honorable Timothy G. Hicks


CITY OF NORTON SHORES,

        Defendant.

Daniel W. Rudd                            Michael Bogren, Lisa A. Hall, Mary Massaron
Plaintiff, Pro Se                         Plunkett Cooney, P.C. for Defendant
201 S Lake Ave                            950 Trade Centre Way, Suite 310
Spring Lake, MI 49456                     Kalamazoo, Michigan 49002
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         PLAINTIFF'S REPLY TO DEFENDANT'S RESPONSE REGARDING
                CONTEMPT PROCEEDINGS AGAINST THE CITY
  The city was ordered to appear and show cause for alleged violations of the 5/3/18

disclosure order. The City filed a RESPONSE which was signed on 6/21/18. Although a

copy could have been immediately sent by e-mail, it was mailed to Plaintiff and received
on 6/25/18. Plaintiff submits this reply in case the Court wishes to review it prior to the

contempt hearing at 1:30 on 6/29/18.

  Immediately after completing this reply, Plaintiff sent a copy of the same to counsel
for the City by e-mail at ll'Z^A^ on 6/28/18.




                                               Daniel W. Rudd, Plaintiff (Pro Se)




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I.   The City does not own the citizen complaints and was divested of any discretionary
     authority to designate any portion of these records exempt.

     Under the FOIA redaction is a denial of access to a record (or portion of a record). Public

bodies are vested with the authority to make discretionary initial determinations on the

disclosure of records.       Once the public body has made a final determination, The FOIA

framework defines a process for independent judicial review.           MCL 15.240(4) states in

pertinent part:
             In an action commenced under subsection (1)(b), a court that
             determines a public record is not exempt from disclosure shall
             order the public body to cease withholding or to produce all or
             a portion of a public record wrongfully withheld, regardless of
             the location of the public record.
             …The court shall determine the matter de novo and the
             burden is on the public body to sustain its denial. The court, on
             its own motion, may view the public record in controversy in
             private before reaching a decision. Failure to comply with an
             order of the court may be punished as contempt of court.

     The burden was “on the public body to sustain its denial,” but the City provided no specific

information about the records withheld. This posture required in camera review, which is

specifically authorized by the statute itself. The City was also given the opportunity to choose

and present the full investigatory files related to six of these complaints. This process afforded

the City substantial opportunity to demonstrate the validity of their concerns that disclosure of

the citizen complaints would adversely affect the citizens. This Court afforded the maximum
level of judicial review and found that these complaints themselves did not fit within any

statutory exemption (p.4, ¶2). Accordingly, the statute required a disclosure order (“…a court

that determines a public record is not exempt from disclosure shall order the public body to

cease withholding...” Id.)




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   Without raising any specific challenges to these findings, the City filed a flurry of emergency

motions in this Court, in the Court of Appeals and then finally in the Michigan Supreme Court.

The City never asserted a non-frivolous basis for non-disclosure of the citizen complaints.

Instead, the City continued its practices of brazenly mischaracterizing prior rulings of this Court

and the appellate courts. Plaintiff’s contempt filing cited only one of these misrepresentations.

There were many others.

   Nonetheless, the City’s arguments were unpersuasive at every level. This Court’s

determination was upheld. The City’s emergency motion for a stay of the disclosure order

(filed COA Nos. 343942 & 343459) clearly demonstrates the City’s awareness that the initiating

complaints do not fall under any exemption (at ¶18, emphasis added):
            Although the trial court acknowledged that internal
            investigation records constitute personnel records that are
            exempt from FOIA, it fixated on the fact that the FOIA does not
            specifically exempt citizen complaints that initiate such
            internal investigation records. The controlling case law,
            however, addresses requests that seek "all records" related to
            an internal investigation.

    The reviewing courts did not agree that this Court “fixated” on the non-exempt status of the

complaints, or the claim that this was error under “controlling case law.” The non-exempt status of

the records was determinative. The full process of judicial review has run its course as it pertains to

the citizen complaints. Once these records were deemed “non-exempt” the City did not have any

authority to designate any portion of those records exempt.




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II. The 5/3/18 Order designates what material may be redacted. Any further redactions of
    the records deemed non-exempt are inherently precluded.

   Throughout this litigation, the City was repeatedly urged (by Plaintiff and even the trial

Court) to present particularized justifications for non-disclosure of particular records. The City

was given a full and fair opportunity to raise any and all possible exemptions for every portion

of every record. The City brought at least two motions for summary disposition and repeatedly

advised the Court that the matter was ripe for a ruling. The City could have asserted additional

exemptions regarding individual portions of specific records at any point. Instead, the City

ardently and repeatedly insisted that the generalized and conclusory affidavits by Chief Gale

should end the inquiry altogether.

   This absurd position was carried all the way up to the Michigan Supreme Court. On pages 18-

20 of the City’s application for review, Chief Gale’s generalized and conclusory statements

regarding speculative harms which could be associated with disclosure were rehashed and

restated. Remarkably, the City argued that the speculative claims in Chief Gale’s affidavits were

the “record evidence” which was most probative to mixed questions of fact and law before the

trial court.

   More specifically, the City claimed (p.20) that the “trial court gave insufficient weight to the

record evidence regarding the public interest in nondisclosure, instead, placing too much

weight on its own personal review of the documents.” This section of the City’s application

concludes by stating (p.21):
               Given Rudd’s abject failure to provide support for any public
               interest in disclosure in the particular instance, the trial court
               reversibly erred in reviewing the documents and ordering
               citizen complaints to be disclosed.

   The City has litigated extensively and vigorously. In two lengthy hearings the City repeatedly

urged this Court to simply accept the “balancing test” conducted in some back room by city

officials. The City insisted that no detailed affidavits and no in camera review was necessary.

Plaintiff prevailed in arguing that this position eliminates judicial review and external

accountability altogether. On appeal, the City claimed that it was reversible error for this Court
                                            Page 4 of 13
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to consider the most direct form of evidence (a review of the records themselves). These

arguments were (of course) rejected at every level.

     Now, the opportunity for the City to assert additional exemptions for non-disclosure of the

same records has passed. Disclosure of the complaints themselves was fully litigated, fully

decided, and fully affirmed on appeal. To circumvent this absolute bar to the City’s position,

Mr. Bogren plainly misrepresents the nature and scope of this Court’s ruling in order to suggest

that the City may withhold portions of the non-exempt citizen complaints by asserting a

different blanket exemption (emphasis added):
             The Court ultimately held that a specific category of
             documents [i.e., the citizens' complaints] located in the internal
             affairs files were not exempt under MCL 15.243(l)(s)(ix) and
             granted partial summary disposition in favor of Plaintiff as to
             those documents only. But whether the citizens' complaints
             themselves contained any information that was subject to a
             separate exemption was never litigated not decided by this
             Court, as the issue before the Court was whether the citizen
             complaints fell within the personnel records of a law
             enforcement agency exemption.

    This is brazenly untrue. After a full in camera review, the trial court found that these records

do not fall within the personnel records exemption claimed by the City. Accordingly, no further

analysis was required. However, this Court extended additional diligence issuing specific

findings on the balancing test anyway. These findings do address concerns which could be

raised under other exemptions.
    Importantly, the City chose not to assert other exemptions1 and moved for summary

disposition twice—repeatedly advising the trial court that the matter was ripe for a ruling.

    Ordinarily a litigant is not permitted to remain silent in the trial court so that an issue may be

raised as an appellate parachute.2 Under the FOIA, new exemptions may sometimes be


1 Notably, the City has failed to articulate a particularized basis for applying any other statutory
exemption and did not provide “An explanation of the basis under this act or other statute for the
determination that the public record, or portion of that public record, is exempt from disclosure,”
2 See discussion of the “Raise or Waive” rule in Walters v. Nadell, 751 N.W.2d 431, 481 Mich.

377 (2008): “This practice also avoids the untenable result of permitting an unsuccessful litigant
                                              Page 5 of 13
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considered during the appeal process. However, the City chose not do this. Allowing the City to

deploy a different exemption as a post-appellate parachute would create a number of absurd

results. Imagine the strain on the courts if recalcitrant government bodies were permitted to

litigate a blanket exception all the way to the Supreme Court, THEN repeat that process again

(with another smaller blanket exemption). Plaintiff wonders how many layers of obstruction the

City intends to deploy.

   The FOIA sets forth a linear statutory scheme for resolution of these matters. It does not run

in a loop or work like a set of Russian nesting dolls. A requestor should not have to peel back

layers of obstruction, file suit, defend appeals, only to be faced with another layer. The City has

exhausted the full process of judicial review and has no further basis to assert any discretionary

authority over the records deemed non-exempt.
III. The City’s blatant and pervasive misrepresentations also demonstrate contempt for this
     Court’s authority and the dignity for the legal profession.

   It is offensive that the City did not address (or apologize to this Court) for the blatant

mischaracterizations of the 5/3/18 ruling which were already identified.3 Instead, the City has

proceeded with further misrepresentations:
        “The Order in this matter simply deemed a category of documents
        [i.e. the citizens' complaints] located in the internal affairs files not
        exempt pursuant to MCL 15.243(l)(s)(ix) and required them to be
        produced. The Order was silent as to whether the citizens'
        complaints, individually, contain information that is exempt.”

This also is completely false. The Court reviewed the specific complaints in camera and gave the City

extensive opportunities to validate their specific concerns regarding disclosure. The ruling was not

generalized and not silent about the specific records (and portions of records).

to prevail by avoiding its tactical decisions that proved unsuccessful. Generally, a party may not
remain silent in the trial court, only to prevail on an issue that was not called to the trial court's
attention. Trial courts are not the research assistants of the litigants; the parties have a duty to
fully present their legal arguments to the court for its resolution of their dispute.”
3
  This City misrepresented the actual wording of the Court’s finding that disclosure of the names
of complainants might result in some chilling effect—but not enough to outweigh the public’s
interest in disclosure. The City conveyed that this Court found there would be a chilling effect
and then relied on this distortion to deem this Court’s ruling “nonsensical.” See Exhibit A.
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            One complaint involves an ofﬁcer's allegedly insensitive
            treatment of a mother's remains. Several involve motor vehicle
            accidents involving department personnel. One involves
            ofﬁcers' failure to appear in court. Most of these do not
            implicate the concerns listed in the Gale and Chandler
            afﬁdavits. (p.5, ¶1)

    Neither was the order silent regarding the permitted separations of exempt from non-exempt.

The ruling demonstrates that the Court was far more cognizant of narrowly applied separations of

material than the City has ever been. For example (emphasis added):
            There is no speciﬁc statutory exemption for the complaints
            themselves. The second Evening News principle requires any
            exemption to be narrowly construed. The third requires the
            public body to separate the exempt and non-exempt materials.
            Norton Shores's position is adverse to both of these concepts.
            (p.4, ¶2)
            Many of the complaints disclosed stand on their own and can
            be severed from the exemptible information. One complaint
            involves an ofﬁcer's allegedly insensitive treatment of a
            mother's remains. Several involve motor vehicle accidents
            involving department personnel. One involves ofﬁcers' failure
            to appear in court. Most of these do not implicate the concerns
            listed in the Gale and Chandler afﬁdavits. (p.5, ¶1)

The Court was more thorough in conducting a review than typically occurs in a FOIA dispute of this

nature. The court made very specific and particularized findings regarding the actual records

themselves (far more specific than the City ever offered). The 5/3/18 Opinion and order was also

specific in defining what could be carved out. The singular language and the specific parameters
preclude the inference that any further carving will be permitted .
            The court will "carve out" one class of complaints which need
            not be disclosed. Focusing on "the big picture," a complaint
            made by one Norton Shores officer against another officer can
            be considered a personnel matter that need not be disclosed.
            The court will consider the West Michigan Enforcement Team
            ("WEMET") as part of the NSPD for this purpose, since (1)
            ofﬁcers are "loaned" to WEMET and (2) there is some concern
            that it might reveal some conﬁdential police work. However,
            this exception would not apply when the complainant is an
            ofﬁcer in another jurisdiction like the Muskegon County
            Sheriff or the City of Muskegon. There are some additional
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            procedural details outlined below. (p.6, ¶¶2-3)

     Furthermore, the ruling specifically rejected the City’s position regarding the potential for

harms to citizen complainants if their names are disclosed (emphasis in the original):
            Yes, the information in the complaints might be embarrassing
            to the police force to some extent. Yes, there might be some
            chilling effect on the citizenry at large if the names of the
            complainants are disclosed. The public's interest in disclosure
            outweighs the reasons not to disclose. (p.5, ¶2)
            There is a public interest in knowing if an officer or
            department is involved in some untoward behavior, or worse, a
            pattern of inappropriate conduct (p.5, ¶3)
            Public confidence in the force could improve with knowledge
            that the City was, and did, monitor its own officers' behavior.
            Suppressing this information generates its own issues. (p.5,
            ¶4)

    There is nothing non-specific or ambiguous about the Court’s order to disclose the names of

the Police officer (and the names of the citizens). The City clearly understood this while

advising the Court of Appeals4 that a stay of the 5/3/18 disclosure order was
            “necessary so as to preserve the City’s right to appeal
            or risk a finding of contempt.”

    The City’s 6/1/18 emergency filing5 in the Michigan Supreme Court asserted that:
            “A stay is critical because the confidentiality of the
            complaining citizen, once disclosed, cannot be regained.”

It is undeniable that the City fully understood the scope and effect of this Court’s 5/3/18
disclosure order.




4P.7, ¶19 of the City’s emergency motions for stay (COA Nos. 343942, and 343759)
5p.2 of the City’s: “MOTION FOR IMMEDIATE CONSIDERATION OF ITS EMERGENCY
APPLICATION FOR LEAVE TO APPEAL THE COURT OF APPEALS MAY 31, 2018 ORDER
DENYING ITS EMERGENCY MOTION TO STAY EXECUTION OF JUDGMENT PENDING
APPEAL” filed 6/1/18, MSC No. 157879
                                           Page 8 of 13
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IV. The City may not qualify its compliance with a court order based upon subjective
    inferences about Plaintiff’s motivations in seeking the records.

    The City’s unauthorized redactions certainly do obstruct any effort to ascertain whether or

 not certain officers are engaging in a pattern of misconduct and/or receiving preferential

 treatment. Citing a decontextualized fragment of Plaintiff’s prior arguments, the City claims

 (Response, p.2) that:
             “Plaintiff previously represented to the Court that all he was
             seeking, as it related to the citizen complaints, was the basic
             nature of the complaint, ‘even if the names are redacted,’ it is
             evident that it is the Plaintiff who is acting in bad faith with
             the filing of this motion, not the Defendant.”

 Although carefully worded, this is an attempt to mislead this Court regarding Plaintiff’s

 representations. This was not “all” Plaintiff was seeking. Further, Plaintiff’s prior arguments

 and the City’s beliefs about what Plaintiff has been able to extrapolate are absolutely irrelevant

 to the City’s obligation to comply with the 5/3/18 disclosure order. It is absurd to suggest that

 the scope of compliance may hinge upon these kind of unilateral and subjective

 determinations. The City wrongly (and presumptuously) asserts that that a pattern may be

 revealed without the names of the officers who are the subject of the complaints.
             Plaintiffs claim that the redaction has made it impossible for
             the public to appreciate "a pattern of inappropriate conduct"
             also fails as the basic nature of the underlying complaint is
             revealed despite the redactions. To the extent a pattern of
             conduct existed, it would be revealed with the information
             provided to Plaintiff. Indeed, Plaintiff acknowledged he was
             able to determine the nature of the complaint, despite having
             only received redacted copies of the citizen complaints, as he
             stated in an email to counsel for Defendant that he believes
             they "relate to the very practices which I've challenged in my
             federal lawsuit." [Ex. C, June 11, 2018 Email from Rudd].
             Thus, there is no question Plaintiff was able to ascertain the
             basic nature of the complaint. It is also evident, based on his
             pending federal lawsuit and his statements made to
             Defendant's counsel on June 11, 2018, Plaintiff's motivation in
             this lawsuit is entirely personal.



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    If this were the actual benchmark for adherence to court orders, no judgement would ever

 be enforceable. The City has once again demonstrated their own improper motivation for

 obstructing access to non-exempt records. The City’s beliefs about Plaintiff’s motivations and

 what Plaintiff can infer from the redacted complaints are absolutely irrelevant. However, as

 Plaintiff has already argued, if the City’s claims of exemption were actually motivated by a

 desire to cover up activities which could subject city officials to civil or criminal liability, that is

 another story.

    In either case, it does not matter if the City believes the redacted records were adequate for

 Plaintiff’s purposes. Although unpublished, the reasoning set forth in Marchese v. Marchese,

 No. 330925 (Mich. Ct. App. June 22, 2017) is persuasive regarding the City’s claim of “no harm

 no foul.”
             Plaintiff's argument regarding the absence of damage, harm,
             or loss is premised on her view that the purchase agreement
             was executed prior to the filing of the motion to show cause
             and that the sale of the cottage ultimately did occur — no
             harm, no foul. This argument borders on the nonsensical.
             Contempt of court is not washed away when the party who
             committed the contempt is unsuccessful in reaching his or her
             goal that served as the motivation for the contempt;
             unsuccessful contemptuous conduct is still contemptuous
             conduct.

    In the present case, the City’s obstructive tactics have effectuated a substantial and

 continuing harm. Both the City officials and the sworn officers of the court who represent them
 have demonstrated a profound disregard for the public trust. The City’s pervasive

 misrepresentations serve to undermine public confidence in the legal profession and hinder the

 proper administration of justice.

    Although the issue was raised in a different context (misleading statements to investigating

 police officers) the published Court of Appeals opinion in People v. Williams, No. 330853 (Mich.

 Ct. App. Dec. 6, 2016) set forth a useful definition of misleading statements:




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             … in general parlance "statements" include verbal and written
             expressions of something. An answer to a question necessarily
             represents an expression. It may mislead the listener by
             omitting relevant information.
             Suppose an attorney unlicensed to practice law in Michigan
             attempts to argue a motion in a circuit court. When asked by
             the judge whether she is qualified to practice in Michigan, the
             attorney replies, "Judge I've been practicing law for 25 years."
             The attorney has said something that excluded a material fact:
             she lacks a Michigan license. By making the statement, the
             attorney attempted to mislead the judge.
             And what about the teenager who when asked how his algebra
             class went responds "just fine," despite that he failed to attend
             it? Williams's answers to Wypa's questions are akin to these
             examples: statements omitting information that lead the
             interrogator in a wrong direction. Id.

    The City has attempted to mislead this Court and the appellate courts with numerous

 omissions and misstatements which are more severe than the examples noted above. In this

 case, these misrepresentations come from trusted government officials and experienced

 attorneys (officers of the court). In a FOIA suit, the government body and the attorneys are

 uniquely situated with actual knowledge of the records in dispute. These circumstances

 correlate to ex parte proceedings where an attorney is also subject to heightened duty of

 candor and an obligation to disclose any pertinent information even when it is adverse. These

 are not momentary lapses in judgement. Evidence will show that the City has demonstrated a

 sustained and calculated effort to obstruct the proper administration of justice and prevent
 disclosure of records which will reflect poorly on those City officials themselves. MCL 600.1701

 authorizes contempt proceedings to address “any deceit or abuse of the process or proceedings

 of the court.”




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V. The order to show cause for contempt is not defective.

     Defendant has been fully advised of the nature of the allegations raised against the City. The

 6/15/18 order directs the City to show cause why they should not be held in contempt for violations

 of the 5/3/18 disclosure order. While the order does not specify between civil and criminal

 contempt the City is adequately placed on notice and afforded a full opportunity to present a

 defense against either possibility. A single contemptuous act can at simultaneously warrant a

 finding of civil and criminal contempt. Presumably, the Court will make determinations regarding

 the nature of the contempt upon considering arguments and evidence regarding what (if any)

 violations have occurred, and the possibility for those violations to be cured through future

 compliance. The distinction between civil and criminal contempt rulings is significant for the

 purpose of ensuring that any required due process considerations have been met.
             Although it may be difficult to distinguish between criminal
             and civil contempts, this distinction is often critical since a
             criminal contempt proceeding requires some, but not all, of the
             due process safeguards of an ordinary criminal trial and
             because the purpose sought to be achieved by imprisoning a
             civil contemnor (coercion) varies significantly from the purpose
             of imprisoning a criminal contemnor (punishment).

    In re Contempt of Dougherty, 429 Mich 81, 99; 413 NW2d 392 (1987). The distinction of

 criminal vs. civil contempt is a critical element as it relates to adjudication of the matter, the

 nature of penalties and how these determinations are reached. However, nothing in this

 opinion supports the proposition that an order to show cause should be dismissed if it does not

 specifically designate the proceedings to be criminal or civil contempt. MCR 3.606(A)(1)

 describes the initiation of indirect contempt proceedings by an order which compels the

 accused to “show cause, at a reasonable time specified in the order, why that person should

 not be punished for the alleged misconduct.”

    The City is represented by counsel and fully apprised of the nature of the claims which must

 be defended. All due process requirements have been met for civil or criminal contempt

 proceedings.

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   The City is represented by counsel and fully apprised of the nature of the claims which
 must be defended. All due process requirements have been met for civil or criminal

 contempt proceedings.


VI. The Court should exercise its broad authority and issue prompt relief.

    The language of the FOIA, along with a well-established body of case law, favors

 expeditious resolution and disclosure of documents which have been improperly shielded
 from public access. The City has now withheld non-exempt records for 18 months. This
 Court has inherent and statutory authority to fashion "any order proper to fully effectuate
 the circuit courts'jurisdiction and judgments." See MCL 600.611.

     Plaintiff requests an order directing court staff, to duplicate the un-redacted versions of
 the records deemed non-exempt and effectuate the 5/3/18 ruling which has now been
 affirmed by the Court of Appeals and the Supreme Court.



 Respectfully Submitted on June 28, 2018 by,
                                                                        \jj
                                                        Daniel W. Rudd, Plaintiff(Pro Se)
                                                        201 S Lake Ave. Spring Lake, MI 49456
                                                        231-557-2532 daniel@stock20.com




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        EXHIBIT A
        Excerpts from Plaintiff’s Brief to the Supreme Court in MSC Case No.
        147879 offering two examples of the City’s persistent misrepresentations
        regarding this Court’s order and the opinion in Newark Morning Ledger.
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III. The City lost credibility with the Court of Appeals because they mislead the court
     regarding critical portions of the trial Court’s rulings.

    Instead of directly challenging the trial court’s findings on appeal, the City

 mischaracterized the trial Court’s ruling at several substantial points. For example,

 the City altered the wording of the trial court’s findings regarding a chilling effect

 upon future complainants. Rudd identified these misrepresentations in the City’s

 emergency filing in the Court of Appeals (Emg.Mtn.to stay, ¶19) emphasis added:
       “Additionally, the trial court here determined that the public interest in
       disclosure of citizen complaints outweighed the interest in nondisclosure -
       even though the trial court recognized that there would be "some
       chilling effect on the Citizenry at large if the names of the complainants
       are disclosed." (emphasis added)

   As it pertains to the required balancing test “would be” vs “might be” is not a

 trivial change. The City’s mischaracterization was more egregious in light of (1) the

 trial court’s full statement (see below) and (2) the City’s derivative conclusion that

 the trial court’s position was “nonsensical” in paragraph 19 (emphasis added):
       …“The trial court's position is nonsensical, given that the interest of the
       complaining citizens is directly at issue, and that, if such information is
       disclosed, the citizenry at large will be affected by a diminished
       willingness to come forward with complaints.”

   The trial court certainly did not recognize that there would be some chilling

 effect if the names of the complainants are disclosed. Here’s what the opinion

 actually states (p. 5, underline added, but “some” is italicized in the original order):
       Yes, the information in the complaints might be embarrassing to the
       police force to some extent. Yes, there might be some chilling effect on the
       citizenry at large if the names of the complainants are disclosed.
       The public's interest in disclosure outweighs the reasons not to disclose.
       Revelation of most of the complaints discloses very little to no
       confidential police work. There is a public interest in knowing if an officer
       or department is involved in some untoward behavior, or worse, a pattern
       of inappropriate conduct, such as a series of motor vehicle accidents.
       Moreover, disclosure of the complainant could encourage others to "go
       public" with their complaints.
       Expansive use of the exemptions can also diminish the public's confidence

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   Newark also specifically rejects the idea that a blanket request should be

 disfavored (internal citations omitted, emphasis added).
       The trial court's opinion also suggests that the public interest in
       disclosure of multiple records of internal affairs investigations is always
       less than the interest in disclosure of a particular instance. We disagree.
       When multiple records are requested, conclusions can be drawn
       concerning the efficacy and fairness of the disciplinary procedures.
       Because the trial court did not address these various concerns, we are
       unable to determine whether the conclusion reached by the trial court
       regarding the balancing of the public interests was correct. Therefore, we
       remand this case to the trial court for additional findings and for a
       determination whether the public interest in disclosure outweighs the
       public interest in nondisclosure of some, all, or none of the documents in
       their original or redacted versions. Newark at 227.

   The City has also repeatedly asserted a (false) claim that citizen complaints were

 deemed exempt in Newark.         As noted in the preceding passage, this Court

 remanded the matter with instructions to the trial court. There is no reasonable

 basis to believe that no records were produced. The City relies on the same tactic in

 misrepresenting the records disclosed in the other two cases relied upon [sheriff

 Sutton]. These claims were refuted in Plaintiff’s arguments on 4/2/18 (p.25):
       What they're trying to do is exactly the opposite of what Newark calls for.
       And Newark did not deem the records exempt. Newark remanded to the
       trial court.
       We have no idea if they had to produce the citizen complaints or not
       because we don't know what the trial court ruled after it got sent back
       there.
       But that request was for 14 years' worth of all documents and that case
       did not find its way back to the court on remand, so I'm guessing some
       documents were produced.
       The Defendant is saying that in all three cases, “they considered all the
       records as a whole and none were produced.” Absolutely not true. In
       sheriff -- Kent County Sheriff, the Supreme Court decision specifically
       says approximately 30 some documents had already been produced
       totaling around 270 some--I believe--pages, and that was just for the one
       investigation.



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       And in that investigation, they already had the complaint. They already
       had the disposition.     …The officers had been disciplined. They were
       trying to, you know, fight through a grievance issue and they wanted the
       very specific internal investigation records which would disclose “who
       ratted on us.”
       That's what they weren't going to disclose. And that's not what I'm
       asking for. But they certainly had all the other records.
       So it's completely wrong to say in those -- in Sutton, the third case… --
       where they also say “all the records were withheld”, not true. In Sutton, it
       was the complainant who was asking for the internal affairs records. He
       already had the disposition. He already had the complaint. He wrote it.
       What he wanted was the confidential stuff and they said “no.” …these
       three cases are absolutely inapplicable to what they're trying to establish.

   Even in the present application to the highest court of our state, the City still

 insists that “no citizen complaints were disclosed.”          The City also replicates a

 corresponding error which was also identified by Rudd during the 4/2/18 hearing.

 The City quotes an excerpt from the Newark opinion which comes from the trial

 court below. The Court of Appeals cited this portion of the trial court’s opinion with

 disfavor. It is provided as an example of what not to do. However, the City has

 repeatedly presented this very portion as if it were the ruling issued by the Court of

 Appeals in Newark. The City states “The same result must follow here.” (City’s

 Application to MSC, pp.16-17).
V. The Court of Appeals got it right in Federated and they got it right now.

    The City’s reference to disclosure rendering an appeal moot cites State News v
 Mich State Univ, 481 Mich 692, 704 n 25; 753 NW2d 20 (2008) but originates in

 Federated Publications, Inc. v. City of Lansing, 467 Mich. 98, 649 N.W.2d 383

 (2002). The entire body of Federated litigation is highly instructive for the present

 controversy.    These rulings categorically oppose the City’s position regarding

 disclosure of the citizen complaints. In Federated the Plaintiff sought disclosure of

 “any reports or other documents regarding complaints investigated by the Lansing

 Police Department Internal Affairs Bureau for the time period of January 1, 1997

 through December 31, 1997.” The city asserted the law enforcement personnel
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